






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-427 CR


____________________



CANDACE ANN-MARIE HOLEMAN, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 85108






MEMORANDUM OPINION (1)


	Candace Ann-Marie Holeman was convicted and sentenced on an indictment for
debit card abuse.  Holeman filed a notice of appeal on September 8, 2003.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that
this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On September 11, 2003, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered October 30, 2003

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


